                    IN THE SUPREME COURT OF NORTH CAROLINA

                                         2021-NCSC-111

                                            No. 83A21

                                    Filed 24 September 2021

     IN THE MATTER OF: M.R.F.


           Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from an order entered on 3

     November 2020 by Judge Mack Brittain in District Court, Transylvania County. This

     matter was calendared for argument in the Supreme Court on 19 August 2021 but

     determined on the record and briefs without oral argument pursuant to Rule 30(f) of

     the North Carolina Rules of Appellate Procedure.


           Donald H. Barton for petitioner-appellee.

           No brief for appellee Guardian ad Litem.

           Anné C. Wright for respondent-appellant father.


           MORGAN, Justice.

¶1         Respondent-father appeals from the trial court’s order terminating his

     parental rights to “Margot,”1 a minor child born in May 2014. The order also

     terminated the parental rights of Margot’s mother, but she is not a party to this

     appeal. We reverse the trial court’s order as to respondent-father.



                        I.   Factual and Procedural Background


           1 We use a pseudonym to protect the juvenile’s identity and for ease of reading.
                                            IN RE M.R.F.

                                            2021-NCSC-111

                                        Opinion of the Court



¶2         Petitioner is Margot’s maternal grandmother. On 30 October 2019, petitioner

     filed a petition to terminate the parental rights of both of Margot’s parents. As the

     statutory grounds for termination, petitioner alleged the following: respondents

     willfully left Margot in a placement outside the home for more than twelve months

     without making reasonable progress to correct the conditions leading to Margot’s

     removal, see N.C.G.S. § 7B-1111(a)(2) (2019); respondents “willfully failed without

     justification to pay for the care, support and education of the minor child in violation

     of N.C.G.S. [§] 7B-1111(a)(4)”; and respondent-father “has not undertaken any of

     those actions required of him” to legitimate the child under N.C.G.S. § 7B-1111(a)(5).

     Respondent-father was served with the petition and with an alias and pluries

     summons on 31 January 2020. On 19 February 2020, respondent-father filed a

     verified answer denying many of the allegations in the petition.

¶3         The trial court held a hearing on the petition on 14 October 2020. Petitioner

     testified and introduced a copy of Margot’s birth certificate. Respondent-father did

     not call any witnesses at the hearing but presented federal court records reflecting

     his incarceration in federal prison.

¶4         In its “Order Terminating Parental Rights” entered on 3 November 2020, the

     trial court concluded that grounds existed to terminate respondent-father’s parental
                                             IN RE M.R.F.

                                             2021-NCSC-111

                                           Opinion of the Court



     rights pursuant to N.C.G.S. § 7B-1111(a)(2), (4), and (5).2 The trial court further

     concluded that it was in Margot’s best interests that respondent-father’s parental

     rights be terminated. See N.C.G.S. § 7B-1110(a) (2019). Respondent-father filed

     timely notice of appeal from the termination of parental rights order.

                                  II.   Arguments on Appeal

¶5          On appeal, respondent-father contends that the trial court erred by failing to

     state the standard of proof that it applied in finding the facts to support the trial

     court’s adjudication of grounds for terminating respondent-father’s parental rights

     under N.C.G.S. § 7B-1111(a)(2), (4)–(5). See N.C.G.S. § 7B-1109(f) (2019) (“[A]ll

     findings of fact shall be based on clear, cogent, and convincing evidence.”). He further

     claims that petitioner’s evidence and the trial court’s findings of fact are insufficient

     to establish any of the three adjudicated grounds for termination. We agree with

     respondent-father’s assertions on all points and reverse the termination of parental



            2 The trial court announced at the hearing that it was “not going to find the third

     ground as to [respondent-father] regarding legitimization, since [respondent-father] is listed
     on the birth certificate.” In its order, however, the trial court concluded that grounds existed
     to terminate the parental rights of respondent-father pursuant to N.C.G.S. § 7B-1111(a)(5).
     Generally, where a trial court’s ruling rendered in open court is inconsistent with its written
     order, the written order controls. See generally In re A.U.D., 373 N.C. 3, 9–10 (2019) (“[A]
     trial court’s oral findings are subject to change before the final written order is entered.”).
             In their briefs, the parties agree that the trial court found that petitioner had failed
     to prove grounds for terminating respondent-father’s parental rights under N.C.G.S. § 7B-
     1111(a)(5). However, respondent-father also challenges the adjudication under N.C.G.S. §
     7B-1111(a)(5) included in the written order as unsupported by the trial court’s findings of
     fact or petitioner’s evidence. In viewing the written order as controlling, we review
     respondent-father’s argument contesting the trial court’s adjudication under N.C.G.S. § 7B-
     1111(a)(5).
                                            IN RE M.R.F.

                                            2021-NCSC-111

                                          Opinion of the Court



     rights order.

¶6         A proceeding for the termination of parental rights consists of

                     two stages, beginning with an adjudicatory determination.
                     At the adjudicatory stage, the petitioner bears the burden
                     of proving by clear, cogent, and convincing evidence the
                     existence of one or more grounds for termination under
                     section 7B-1111(a) of the General Statutes. If a trial court
                     finds one or more grounds to terminate parental rights
                     under N.C.G.S. § 7B-1111(a), it then proceeds to the
                     dispositional stage at which it determines whether
                     terminating the parent’s rights is in the juvenile’s best
                     interest.

     In re K.C.T., 375 N.C. 592, 595 (2020) (extraneity omitted).

¶7         Respondent-father confines his appeal to the trial court’s ruling on

     adjudication. “We review a [trial] court’s adjudication ‘to determine whether the

     findings are supported by clear, cogent and convincing evidence and the findings

     support the conclusions of law.’ ” In re N.P., 374 N.C. 61, 62–63 (2020) (quoting In re

     Montgomery, 311 N.C. 101, 111 (1984)). “[T]he issue of whether a trial court’s

     adjudicatory findings of fact support its conclusion of law that grounds existed to

     terminate parental rights pursuant to N.C.G.S. § 7B-1111(a)” is reviewed de novo by

     the appellate court. In re T.M.L., 377 N.C. 369, 2021-NCSC-55, ¶ 15. “Under a de

     novo review, the court considers the matter anew and freely substitutes its own

     judgment for that of the [trial court].” Id. (alteration in original) (quoting In re

     C.V.D.C., 374 N.C. 525, 530 (2020)).
                                             IN RE M.R.F.

                                            2021-NCSC-111

                                          Opinion of the Court



       A. Standard of Proof

¶8           As respondent-father notes, “[t]he trial court’s order fails to identify” the

       standard of proof under which the trial court made adjudicatory findings of fact. He

       contends that the trial court’s order “must be vacated” as a result of this omission.

¶9           Section 7B-1109 establishes the requirements of an adjudicatory hearing in a

       termination of parental rights proceeding and provides that “[t]he burden in such

       proceedings shall be upon the petitioner or movant and all findings of fact shall be

       based on clear, cogent, and convincing evidence.” N.C.G.S. § 7B-1109(f). Although

       subsection 7B-1109(f) “merely specifies a particular standard of proof in termination-

       of-parental-rights proceedings,” In re B.L.H., 376 N.C. 118, 123 (2020), this Court has

       held that the statute “implicitly requires a trial court to announce the standard of

       proof which they are applying on the record in a termination-of-parental-rights

       hearing. To hold otherwise would make the provision effectively unenforceable and

       would defeat the purposes of the statutory scheme,” id. at 126; see also N.C.G.S. § 7B-

       1109(e) (requiring trial court to “take evidence, find the facts, and . . . adjudicate the

       existence or nonexistence of any of the circumstances set forth in G.S. 7B-1111 which

       authorize the termination of parental rights of the respondent” (emphasis added)).

¶ 10         Contrary to respondent-father’s argument on appeal, “the trial court satisfies

       the announcement requirement of N.C.G.S. § 7B-1109(f) so long as it announces the

       ‘clear, cogent, and convincing’ standard of proof either in making findings of fact in
                                            IN RE M.R.F.

                                            2021-NCSC-111

                                          Opinion of the Court



       the written termination order or in making such findings in open court.” In re B.L.H.,

       376 N.C. at 126 (“This rule ensures our appellate courts can determine whether the

       correct standard of proof was applied from the record on appeal without an undue

       formalism not reflected in the statutory language.”). In the present case, however,

       the trial court failed to announce the standard of proof for its adjudicatory findings

       either in open court or in its written order. Therefore, the trial court failed to comply

       with the statutory mandate.

¶ 11         Petitioner concedes that the trial court failed to articulate the applicable

       standard of proof but insists that “there was overwhelming evidence leading to the

       entitlement of [petitioner] to an order terminating parental rights and that the

       evidence obviously met the clear and convincing standard.” Petitioner argues that a

       remand of this case to the trial court merely to have the tribunal announce the “clear,

       cogent, and convincing” evidentiary standard of N.C.G.S. § 7B-1109(f) will have no

       effect on the ultimate outcome of the case. As elucidated at length hereafter, we are

       not persuaded by petitioner’s argument.

¶ 12         When the record reflects that “there was competent evidence before the trial

       court to support a finding that any of the [adjudicated] statutory grounds existed for

       termination of parental rights[,]” the appropriate remedy for the trial court’s

       noncompliance with N.C.G.S. § 7B-1109(f) is to vacate the trial court’s order and to

       remand the case for the entry of new findings of fact and conclusions of law based on
                                             IN RE M.R.F.

                                            2021-NCSC-111

                                          Opinion of the Court



       the clear, cogent, and convincing evidence standard. In re Church, 136 N.C. App. 654,

       658 (2000) (“[T]he case must be remanded for the trial court to determine whether

       the evidence satisfies the required standard of proof . . . .”). A review of the record in

       the instant case, however, shows that petitioner failed to adduce sufficient evidence

       to sustain any of the alleged grounds for terminating respondent-father’s parental

       rights. In light of not only the failure of the trial court to announce the standard of

       proof which it was applying to its findings of fact but also due to petitioner’s failure

       to present sufficient evidence to support any of the alleged grounds for the

       termination of the parental rights of respondent-father, we are compelled to simply,

       without remand, reverse the trial court’s order. See Arnold v. Ray Charles Enters.,

       Inc., 264 N.C. 92, 99 (1965) (“To remand this case for further findings, however, when

       defendants, the parties upon whom rests the burden of proof here, have failed to offer

       any evidence bearing upon the point, would be futile.”); Cnty. of Durham v. Hodges,

       257 N.C. App. 288, 298 (2018) (“Since there is no evidence to support the required

       findings of fact, we need not remand for additional findings of fact. Instead, we

       reverse . . . .”).

       B. Adjudication under N.C.G.S. § 7B-1111(a)(2)

¶ 13           Respondent-father argues that the trial court erred in adjudicating grounds for

       terminating his parental rights pursuant to N.C.G.S. § 7B-1111(a)(2). He asserts that

       the trial court’s adjudication lacks “indispensable supporting findings of fact.”
                                            IN RE M.R.F.

                                           2021-NCSC-111

                                         Opinion of the Court



       Respondent-father further contends that crucial findings of fact entered by the trial

       court are unsupported by the evidence.

¶ 14         An adjudication under N.C.G.S. § 7B-1111(a)(2)

                    requires the trial court to perform a two-step analysis
                    where it must determine by clear, cogent, and convincing
                    evidence whether (1) a child has been willfully left by the
                    parent in foster care or placement outside the home for over
                    twelve months, and (2) the parent has not made reasonable
                    progress under the circumstances to correct the conditions
                    which led to the removal of the child. Under the first step,
                    the twelve-month period begins when a child is left in
                    foster care or placement outside the home pursuant to a
                    court order, and ends when the motion or petition for
                    termination of parental rights is filed. Where the twelve-
                    month threshold does not expire before the motion or
                    petition is filed, a termination on the basis of N.C.G.S.
                    § 7B-1111(a)(2) cannot be sustained.

       In re K.H., 375 N.C. 610, 613 (2020) (extraneity omitted).

¶ 15         Respondent-father asserts that petitioner’s evidence and the trial court’s

       findings of fact fail to establish that Margot had been left in a placement outside the

       home pursuant to a court order for at least twelve months at the time petitioner filed

       her petition on 30 October 2019. We agree. The only evidence presented at the hearing

       on this issue was petitioner’s testimony that Margot was six years old at the time of

       the hearing, that Margot had lived with petitioner “since she was [thirteen] days

       old[,]” and that Margot was the subject of “DSS proceedings” which resulted in

       petitioner being granted guardianship of the child after “a hearing.” As respondent-

       father observes, the trial court received “no evidence . . . as to whether Margot was
                                            IN RE M.R.F.

                                           2021-NCSC-111

                                         Opinion of the Court



       living with the petitioner pursuant to a court order prior to the entry of the

       guardianship order and no evidence . . . as to when the guardianship order was

       entered.” The record is silent on the question of when Margot’s “placement outside

       the home pursuant to a court order” commenced. See In re K.H., 375 N.C. at 613

       (emphasis added).

¶ 16         Respondent-father specifically challenges, for lack of evidence in the record,

       the following finding of fact entered by the trial court: “That since the child’s birth

       Petitioner has had custody of the minor child by custody placement through

       Transylvania County D.S.S.” We agree with respondent-father that there is no

       evidence to support this finding with regard to the date of Margot’s “custody

       placement through Transylvania County D.S.S.” Moreover, this finding makes no

       reference to a court order or to a date on which such a court order was entered.

¶ 17         We hold that the evidence and the trial court’s findings of fact fail to establish

       an essential fact required for an adjudication under N.C.G.S. § 7B-1111(a)(2); namely,

       that Margot had been in a court-ordered placement outside the home for at least

       twelve months at the time the petition to terminate respondent-father’s parental

       rights was filed. Therefore, the trial court’s adjudication of this ground “cannot be

       sustained.” In re K.H., 375 N.C. at 613 (quoting In re J.G.B., 177 N.C. App. 375, 383
       (2006)).

¶ 18         Respondent-father also submits additional bases for disputing the trial court’s
                                             IN RE M.R.F.

                                            2021-NCSC-111

                                          Opinion of the Court



       adjudication under N.C.G.S. § 7B-1111(a)(2). Citing his confinement in federal prison,

       respondent-father claims that the evidence does not support the trial court’s findings

       that he “willfully” left Margot in petitioner’s care for more than twelve months and

       that he “at all relevant times . . . had the ability to be involved in [Margot’s] care and

       upbringing” but “willfully failed to do so.” Respondent-father also submits that the

       trial court heard no evidence and made no findings regarding the “conditions which

       led to the removal of [Margot]” from respondent-father’s care or the reasonableness

       of his “progress under the circumstances” in correcting those conditions. See N.C.G.S.

       § 7B-1111(a)(2).

¶ 19         We do not need to address these issues. Cf. In re T.N.H., 372 N.C. 403, 407
       (2019) (“[W]e review only those findings necessary to support the trial court’s

       determination that grounds existed to terminate respondent’s parental rights.”). For

       purposes of our review, we have determined that petitioner failed to show that Margot

       resided in a placement outside the home pursuant to a court order for at least twelve

       months at the time the petition in this case was filed. See In re K.H., 375 N.C. at 616

       (reversing order adjudicating grounds for termination under N.C.G.S. § 7B-

       1111(a)(2)); accord In re A.C.F., 176 N.C. App. 520, 529 (2006).

       C. Adjudication under N.C.G.S. § 7B-1111(a)(4)

¶ 20         Respondent-father next claims that the trial court erred by terminating his

       parental rights pursuant to N.C.G.S. § 7B-1111(a)(4), which allows for termination
                                            IN RE M.R.F.

                                            2021-NCSC-111

                                          Opinion of the Court



       when

                    [o]ne parent has been awarded custody of the juvenile by
                    judicial decree or has custody by agreement of the parents,
                    and the other parent whose parental rights are sought to
                    be terminated has for a period of one year or more next
                    preceding the filing of the petition or motion willfully failed
                    without justification to pay for the care, support, and
                    education of the juvenile, as required by the decree or
                    custody agreement.

       N.C.G.S. § 7B-1111(a)(4). As petitioner is Margot’s grandmother and hence not

       Margot’s parent, respondent-father argues that this statutory provision is

       “inapplicable to the instant case.” He further posits that “[t]here was no evidence

       presented or findings of fact made regarding the existence of an order requiring [him]

       to pay child support.” Finally, respondent-father contends that the evidence does not

       support the trial court’s findings that respondent-father had the ability to pay child

       support “at all relevant times” and that he willfully failed to do so. In response,

       petitioner merely offers a conclusory statement, with no elaboration, that respondent-

       father’s “parental rights could be terminated under N.C.G.S. § 7B-1111([a])(4) as

       there was substantial competent evidence to support such a finding.” Petitioner’s

       stance on this issue is without merit.

¶ 21          Petitioner testified at the termination of parental rights hearing that she is

       Margot’s maternal grandmother and not Margot’s parent. Petitioner represented that

       she had been granted guardianship of Margot and that the mother has no meaningful

       relationship with the child. There is no evidence in the record that the mother was
                                            IN RE M.R.F.

                                           2021-NCSC-111

                                         Opinion of the Court



       “awarded custody of the juvenile by judicial decree or has custody by agreement of

       the parents” or that respondent-father was “required by the decree or custody

       agreement” to pay for Margot’s “care, support, and education,” as required for an

       adjudication under N.C.G.S. § 7B-1111(a)(4). Consistent with this dearth of any

       custodial determination is the lack of any findings by the trial court on such matters.

       “Accordingly, we hold the trial court erred in concluding this ground existed to

       terminate respondent[-father]’s parental rights.” In re D.T.L., 219 N.C. App. 219, 221
       (2012).

       D.    Adjudication under N.C.G.S. § 7B-1111(a)(5)

¶ 22         Respondent-father also contends that petitioner’s evidence and the trial court’s

       findings of fact do not support the trial court’s adjudication under N.C.G.S. § 7B-

       1111(a)(5). This provision authorizes the termination of parental rights when

                    [t]he father of a juvenile born out of wedlock has not, prior
                    to the filing of a petition or motion to terminate parental
                    rights, done any of the following:

                         a. Filed an affidavit of paternity in a central registry
                         maintained by the Department of Health and Human
                         Services. The petitioner or movant shall inquire of the
                         Department of Health and Human Services as to
                         whether such an affidavit has been so filed and the
                         Department’s certified reply shall be submitted to and
                         considered by the court.

                         b. Legitimated the juvenile pursuant to provisions of
                         G.S. 49-10, G.S. 49-12.1, or filed a petition for this
                         specific purpose.

                         c. Legitimated the juvenile by marriage to the mother
                                              IN RE M.R.F.

                                              2021-NCSC-111

                                            Opinion of the Court



                         of the juvenile.

                         d. Provided substantial financial support or consistent
                         care with respect to the juvenile and mother.

                         e. Established paternity through G.S. 49-14, 110-132,
                         130A-101, 130A-118, or other judicial proceeding.

       N.C.G.S. § 7B-1111(a)(5). To support a determination that the ground for termination

       of parental rights as provided in N.C.G.S. § 7B-1111(a)(5) exists, the trial court must

       make findings of fact indicating that the petitioner has met her burden of proving

       that the juvenile was born out-of-wedlock and that the putative father has failed to

       take any of the actions enumerated in the subsections of N.C.G.S. § 7B-

       1111(a)(5). See, e.g., In re L.S., 262 N.C. App. 565, 568 (2018).

¶ 23         Neither the record nor the trial court’s findings of fact demonstrate any basis

       for terminating respondent-father’s parental rights pursuant to N.C.G.S. § 7B-

       1111(a)(5). There is no evidence or finding that Margot was born out of wedlock. See

       N.C.G.S. § 7B-1111(a)(5); In re L.S., 262 N.C. App. at 568. Respondent-father is

       identified as Margot’s father on her birth certificate, and the child bears his surname.

       Furthermore, petitioner

                    adduced no evidence to support a finding . . . that, at the
                    time its petition was filed on [30 October 2019],
                    Respondent-Father had not filed an affidavit of paternity
                    in a central registry maintained by the Department of
                    Health and Human Services; legitimated or filed a petition
                    to legitimate the children pursuant to N.C.[G.S.] §§ 49-10,
                    -12.1; legitimated the children by marriage to the mother;
                    or established paternity through a judicial proceeding.
                                            IN RE M.R.F.

                                           2021-NCSC-111

                                         Opinion of the Court



       Id. at 568–69. “We hold, therefore, that petitioner failed to meet its burden of proof

       and the trial court committed prejudicial error in concluding grounds existed for

       terminating respondent[-father]’s parental rights.” In re I.S., 170 N.C. App. at 88.

       E. Additional Grounds for Termination

¶ 24         In her brief to this Court, petitioner asserts that “[t]he action and/or inactions

       of the parents appear to constitute neglect of the child.” See N.C.G.S. § 7B-1111(a)(1)

       (authorizing termination of parental rights when “[t]he parent has abused or

       neglected the juvenile”). “It would also appear,” petitioner contends, “that grounds

       exist under N.C.G.S. § 7B-1111([a])(7) as to abandonment of the child.” However, the

       trial court’s order makes no reference to respondent-father’s neglect or abandonment

       of Margot or to the statutory provisions found in N.C.G.S. § 7B-1111(a)(1) and (7).

       Since the trial court did not address either of these grounds in its order and since

       petitioner did not allege these grounds at the trial court level, this Court is not

       empowered to evaluate the existence of the grounds of neglect or willful abandonment

       here in the first instance.

¶ 25         To the extent that petitioner proffers N.C.G.S. § 7B-1111(a)(1) or (7) as

       alternative bases for upholding the trial court’s termination of respondent-father’s

       parental rights, her argument is not properly before this Court. In her petition filed

       on 30 October 2019, petitioner did not raise neglect or willful abandonment as

       grounds for terminating respondent-father’s rights. See generally In re B.L.H., 190
                                               IN RE M.R.F.

                                               2021-NCSC-111

                                           Opinion of the Court



       N.C. App. 142, 147 (“[W]here a respondent lacks notice of a possible ground for

       termination, it is error for the trial court to conclude such a ground exists.”), aff’d per

       curiam, 362 N.C. 674 (2008). Nor did petitioner ask the trial court to adjudicate either

       of these statutory grounds for termination at the hearing on 14 October 2020 or obtain

       a ruling from the court as to either ground. See N.C. R. App. P. 10(a)(1), (c).

                                        III.    Conclusion

¶ 26         The trial court failed to state, in oral or written form, the standard of proof

       which it utilized in rendering its adjudicatory findings of fact. However, the evidence

       in the record of this case is insufficient to support findings which are necessary to

       establish any of the statutory grounds for termination which were alleged by

       petitioner and found by the trial court. Accordingly, there is not a sufficient

       foundation upon which the trial court could expressly announce the proper

       application of the standard of proof upon remand to it by this Court. Therefore, the

       trial court’s order as to the termination of respondent-father’s parental rights is

       reversed.

             REVERSED.
